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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS
                             EAST ST. LOUIS DIVISION

JANIAH MONROE, MARILYN           )
MELENDEZ, LYDIA HELENA VISION,   )
SORA KUYKENDALL, and SASHA       )
REED, individually and on behalf of a class
                                 )
of similarly situated individuals)
                                 )
          Plaintiffs,            )
                                 )
vs.                              )                   Case No. 18-156-NJR
                                 )
ROB JEFFREYS, MELVIN HINTON, and )
STEVE MEEKS,                     )
                                 )
          Defendants.            )

         DEFENDANTS’ MOTION TO BAR SOME EXPECTED OPINIONS OF
                  PLAINTIFF’S EXPERT JAMES E. AIKEN

   NOW COME the Defendants, Rob Jeffreys, Melvin Hinton and Steve Meeks, by and through

their attorney, Kwame Raoul, Attorney General of the State of Illinois, and for their Motion to Bar

Some Expected Opinions of Plaintiff’s Expert James E. Aiken, state as follows:

                                          Introduction

   The Plaintiffs have disclosed James E. Aiken as an expert in this matter. On August 31, 2020,

Mr. Aiken prepared a written report of the opinions he had formed after review of the record in

this case. On October 8, 2020, counsel for the Defendants deposed Mr. Aiken, eliciting further

explanation of the opinions he expects to offer if called as a witness and the bases for those

opinions. In his written report, Mr. Aiken offered the following opinions:

           a. There is no security justification for denying transgender prisoners medically

               necessary social transition. (Ex. A, Expert Witness Report of James Evan Aiken

               5.)



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            b. There are no legitimate security reasons for denying transgender prisoners

                medically-recommended housing placements. (Id. at 8.)

            c. Requiring transgender prisoners the option of being searched by correctional staff

                of the same gender is surrounded by sound correctional practices. (Id. at 16.)

    Mr. Aiken worked in correctional settings from 1971 to 1994. (Ex. B, Aiken Dep. Tr. 4, 35.)

His positions ranged from drug abuse counselor/social worker to director of entire correctional

systems. (Id. at 4, 32.) He never worked with inmates labeled as transgender, but he did recognize

a type of inmate with more feminine qualities who he believed were more susceptible to

victimization. (Id. at 6-7.) Although he was responsible for classification of inmates he did not

create a separate classification for these individuals. (Id. at 6-7.)

                                           Legal Standard

    Federal Rule of Evidence 702, governing the admissibility of expert testimony, provides as

follows:

                A witness who is qualified as an expert by knowledge, skill, experience,
                training, or education may testify in the form of an opinion or otherwise
                if: (a) the expert's scientific, technical, or other specialized knowledge
                will help the trier of fact to understand the evidence or to determine a
                fact in issue; (b) the testimony is based on sufficient facts or data; (c)
                the testimony is the product of reliable principles and methods; and (d)
                the expert has reliably applied the principles and methods to the facts of
                the case.

“In short, the rule requires that the trial judge ensure that any and all expert testimony or evidence

admitted ‘is not only relevant, but reliable.’” Queen v. W.I.C., Inc. d/b/a Sniper Treestands, 2017

WL 1191224 *1 (S.D. Ill. March 31, 2017) (quoting Manpower, Inc. v. Ins. Co. of Pa., 732 F.3d

796, 806 (7th Cir. 2013)). “When an expert offers an opinion relevant to applying a legal standard

*** the expert’s role is ‘limited to describing the sound professional standards and identifying

departures from them.’” Ashley v. Schneider Nat’l Carriers, Inc., Nos. 12-cv-8309, 13-cv-3042,

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2016 WL 3125056, *12 (N.D. Ill., Eastern Div. June 3, 2016) (quoting Jiminez v. City of Chicago,

732 F.3d 710, 721 (7th Cir. 2013); U.S. v. Blount, 502 F.3d 674, 680 (7th Cir. 2001) (“There is a

difference between stating a legal conclusion and providing concrete information against which to

measure abstract legal concepts.”)).

   “District judges possess considerable discretion in dealing with expert testimony.” Carroll v.

Otis Elevator Co., 896 F.2d 210, 212 (7th Cir. 1990). However, “[i]t is the duty of the Court, not

experts, to determine the meaning of statutes and regulations. Ashley, 2016 WL 3125056, at *12

(quoting U.S. v. Caputo, 517 F.3d 935 (7th Cir. 2008) (“The only legal expert in a federal

courtroom is the judge.”); see also Bammerlin v. Navistar Int’l Transp. Corp., 30 F.3d 898, 900-

01 (7th Cir. 1994) (“The meaning of federal regulations is not a question of fact to be resolved by

the jury after a battle of experts.”), abrogation on other grounds recognized by Kaiser v. Johnson

& Johnson, 947 F.3d 996, 1012–13 (7th Cir. 2020). Based on the forgoing analysis, the Ashley

Court barred the opinions of the plaintiff’s expert that amounted to legal conclusions based on his

own statutory and regulatory interpretations. Ashley, 2016 WL 3125056, at *12.

                                            Argument

   This Court should bar Mr. Aiken’s opinions related to social transition, facility assignments,

and search procedures. These will be discussed in turn below.

                                         Social Transition

   Mr. Aiken assumed in forming his opinion that social transition was medically necessary for

the Plaintiffs and included having a female hairstyle, wearing female clothing and makeup, using

a female name and pronouns, using female toiletries, and using a female bathroom. He concluded

that items available for sale in female facilities should be available in male facilities of the same




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security level. (Ex. A, at 6-7.) That portion of his opinion is not challenged here.1

    As part of his discussion of social transitioning, Mr. Aiken also addresses misgendering of

transgender inmates, or the practice of calling them by pronouns appropriate for their assigned

gender rather than the gender with which they identify. He believes that misgendering of

transgender inmates by staff reinforces the stigma against transgender individuals and increases

the risk of abuse or assault by other prisoners. (Id. at 8.) When asked how a director or warden

can control the actions of staff in relation to inmates, Mr. Aiken stated it is not a matter of control,

but of facilitating and ensuring that staff treat inmates with respect. Training for staff is part of

that process. (Ex. B, at 45.) Mr. Aiken does not remember reviewing the training developed by

Dr. Reister to teach staff how to interact with transgender inmates. (Id. at 46.)

    Beyond training, Mr. Aiken believes prison administrators, including the director and wardens,

promote respect for inmates by demonstrating that respectful behavior. (Id. 45-47.) Mr. Aiken

has seen no indication in the record of Director Jeffreys demonstrating inappropriate behavior

towards transgender inmates. (Id. at 48.)

    To prevent abuse of transgender prisoners by other inmates, Mr. Aiken believes IDOC must

implement rules and regulations that show abuse and harassment will not be tolerated and those

rules and regulations must be observed and incorporated on a daily basis. (Id. at 56-57.) Staff

have to show respect to transgender inmates and make other prisoners do the same. (Id. at 57.)

Mr. Aiken has seen nothing in the record that would indicate harassment of transgender inmates

was reported but not addressed. (Id. at 58-59.)




1
 IDOC has no policies prohibiting female hairstyles or pronouns of choice. IDOC has implemented new commissary
procedures that will allow transgender women in facilities that predominantly house males to purchase all the same
items that are available to inmates in facilities that predominantly house females. (Ex. C, Email from Warden
Locke.)

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   The portion of Mr. Aiken’s opinion that there is no security justification for allowing

misgendering is irrelevant because he has identified no policy where a security justification for

misgendering has been advanced. His opinion is that prison administrators must train staff to be

respectful and then demonstrate that same behavior. He has not identified any failure of Defendant

Jeffreys, who as Director of IDOC is supposed to model this respectful behavior, or any instance

where Defendant Jeffreys has acted disrespectfully. He says training is a significant component

of ensuring staff act respectfully, but has not reviewed the training IDOC has in place before

forming an opinion as to its adequacy. Without identifying a policy he believes is inappropriately

justified by security concerns to allow misgendering, Mr. Aiken offers no opinion relevant to

misgendering and that portion of his testimony should be barred.

                                       Facility Assignment

   Mr. Aiken cites to the determination of the Prison Rape Elimination Commission (on which

he served) that genital status alone should not be the determining factor in assigning a transgender

inmate to a facility. He notes that the Department of Justice has adopted regulations that provide

for a variety of factors to consider in making a case-by-case determination of facility assignment.

He concludes that IDOC has failed to comply with these regulations when they use genital status

alone to make housing decisions. (Ex. A, at 9.) Mr. Aiken further concludes that, to the extent

placement in a facility for females is medically necessary for a transgender woman, IDOC is

required to find a way to make that placement consistent with security needs. (Id. at 9-10.)

   Section 115.42 of the PREA regulations provides direction on assigning transgender inmates

to facilities. 28 C.F.R. § 115.42. Health and security concerns are both factors to be considered.

Mr. Aiken believes medical concerns are the most important, although he admits the regulation

itself provides no formula for balancing these concerns and that after all factors are considered a



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transgender inmate can be placed in either a facility for males or a facility for females. (Ex. B, at

61-66.) The regulation further requires that the placement decision be re-evaluated at least twice

a year. (Id. at 66.)

    Mr. Aiken’s belief that medical concerns take precedence over security concerns arises from

his understanding of the law as it applies to the medical care of inmates. Mr. Aiken is not a lawyer.

Giving top priority to medical concerns is common practice in correctional systems, but Mr. Aiken

is unable to identify any specific standard that requires this. (Id. at 83-85.) His opinion is

contradicted by Wendy Leach, who works for The Moss Group, which has advised IDOC on

changes to its policies for transgender inmates. Ms. Leach testified that security must come first,

and medical needs must be met in a manner that satisfies security concerns. (Ex. D, Leach Dep.

Tr. 217-19.) Mr. Aiken’s inability to identify any standards that support his position highlights

that this is a question of how the law applies to the potentially conflicting responsibilities of

correctional officials and is not a matter to be resolved by reference to industry practices. Mr.

Aiken does not recognize a difference between treatment that is medically recommended and

treatment that is medically required. (Ex. B, at 68.)

    Mr. Aiken did not review the investigational materials related to allegations of sexual assault

allegedly perpetrated by Plaintiff Monroe and only has “jumbled knowledge” about that. (Id. at

70.) Mr. Aiken has no knowledge about how IDOC classifies inmates. (Id. at 88.)

    The question of whether IDOC only considers genital status in making facility assignments is

for the trier of fact to decide. Mr. Aiken’s opinion is that PREA allows for transgender inmates to

be placed in any facility, but that medical concerns override all other factors listed in the PREA

regulations. He admits the PREA regulation itself does not describe any kind of priority or

weighting of the relevant factors. His opinion regarding the significance of medical needs is based



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on his understanding of the law, or as he described it, “connotations of judicial mandates.” (Id. at

83.) Mr. Aiken is not qualified to interpret the law as it applies to the responsibility of prison

officials to comply with directions from medical providers. Even if he had some relevant expertise

in that area, the question of what the law requires is for the Court to decide.

   To the extent Mr. Aiken is allowed to offer an opinion as to the legal requirement to provide a

transfer as medical care, he lacks a sufficient factual basis to state that requirement outweighs the

security concerns presented. Mr. Aiken believes it would be easy to address any security concerns

that arise from transferring a transgender woman to a facility for females because “that’s what we

are supposed to do on a daily basis.” (Id. at 69-70.) However, during the 23 years he worked for

correctional systems, he never transferred a transgender inmate to a facility for females. (Id. at

39.) He also failed to familiarize himself with IDOC’s history of such transfers. He states that

there have been only two recent transfers of transgender women to Logan Correctional Center, an

institution for females, and he is aware that Plaintiff Monroe is one of them. (Ex. A, at 8; Ex. B at

70.) However, despite some awareness that Monroe was accused of sexually assaulting another

prisoner at Logan, he only reviewed records related to that incident sufficient to gain a “jumbled”

or “miniscule” knowledge of the incident. (Ex. B, at 70, 74.) It is impossible to form a valid

opinion that IDOC has “no legitimate security reasons for denying transgender prisoners

medically-recommended placements” without an understanding of what types of issues have been

presented after the most recent transfer. Failure to educate himself on the single most significant

security incident related to the transfer of a transgender woman to Logan undermines any ability

Mr. Aiken has to form a credible opinion on security issues in this case, as his testimony is plainly

not “based on sufficient facts or data.” Fed. R. Evid. 702. His testimony regarding the lack of

security reasons for not transferring transgender women to Logan should be barred.



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                                             Searches

   In regards to strip searches of transgender inmates, Mr. Aiken cites to the PREA standards that

do not allow cross-gender strip searches or visual cavity searches. (Ex. A, at 16.) Mr. Aiken

further clarified that, for purposes of strip searches, “gender” means gender identity. (Id. at 17.)

Mr. Aiken also states that, beyond what PREA requires, if the medical staff determines that only

female staff should search a specific inmate, IDOC must comply with this direction unless in an

emergency situation. (Id. at 17.) Mr. Aiken admits he misspoke if he said the PREA standard 28

C.F.R. § 115.15 explicitly states “gender” means gender identity in the context of cross-gender

searches. (Ex. B, at 79-80.)

   Although Mr. Aiken’s opinion regarding searches as stated on page 21 of his report is a bit

jumbled, he appears to be saying that PREA requires that a transgender inmate be searched by

correctional staff of the same gender as the inmate, while IDOC policy allows a transgender inmate

to be searched by staff of the same gender as the facility is designated unless the inmate protests.

Mr. Aiken’s opinion is based on his interpretation of “gender” as an inmate’s gender identity rather

than his or her gender as assigned at birth. However, he admits that interpretation is his own

understanding and is not explicit in the regulation. This lack of clarity is reinforced by the

testimony of Wendy Leach, who noted that the PREA regulations are not clear and the usual

practice is for inmates, transgender or otherwise, to be searched by an officer that is the same

gender as the inmates predominantly housed in the facility (male officers search inmates in

facilities for males). (Ex. D, at 268-69, 271.) She went on to say that the best practice is to allow

the inmate their choice whenever possible. (Id. at 269.) Even this best practice raises concerns,

as employees also have a right to refuse to perform cross-gender searches, a right often defended

by unions. (Id. at 269-70.) Just as with his attempts to apply the legal requirements of providing



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medical care, Mr. Aiken is both unqualified to opine on the legal requirements pertaining to

searches of gender dysphoric prisoners and is, in part, encroaching on the role of the Court. If the

regulation is not read to bar searches of transgender inmates by staff of the same gender as the

inmate is assigned, there is nothing left of Mr. Aiken’s opinion. His opinion on this matter should

be barred as an issue to be resolved by the Court.

       WHEREFORE, for the above and foregoing reasons, Defendants respectfully request this

Honorable Court bar Plaintiff’s expert James E. Aiken from offering the above opinions relating

to social transition, facility assignment, and searches.

                                               Respectfully submitted,

                                               Rob Jeffreys, Melvin Hinton, and Steve Meeks,

                                                       Defendants,

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                                               State of Illinois,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 2, 2020, I electronically filed a copy of the foregoing

 Defendants’ Motion to Bar Some Expected Opinions of Plaintiff’s Expert James E. Aiken, with

 the Clerk of the Court using the CM/ECF system, which will send electronic notice to the

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